9/13/2019                                                                   Details
             Case 3:19-cv-02205-M-BH Document 1-3 Filed 09/16/19                       Page 1 of 32 PageID 8




             Case Information

             CC-19-05426-D | JAMES SUMMERS, FELICITAS SUMMERS vs. LIBERTY SAVINGS BANK, FSB

             Case Number                                Court                         Judicial Oﬃcer
             CC-19-05426-D                              County Court at Law No. 4     ROSALES, PAULA
             File Date                                  Case Type                     Case Status
             08/30/2019                                 DEBT/CONTRACT                 OPEN




             Party

             PLAINTIFF                                                                Active Attorneys
             SUMMERS, JAMES                                                           Lead Attorney
                                                                                      LEBOEUF, JASON
             Address
             532 LEA VALLEY CIRCLE                                                    Retained
             COPPELL TX 75017




             PLAINTIFF                                                                Active Attorneys
             SUMMERS, FELICITAS                                                       Lead Attorney
             Address                                                                  LEBOEUF, JASON
                                                                                      Retained
             532 LEA VALLEY CIRCLE
             COPPELL TX 75017




             DEFENDANT
             LIBERTY SAVINGS BANK, FSB

             Address
             C/O ITS CORPORATE OFFICER
             3435 AIRBORNE ROAD, SUITE B
             WILMINGTON OH 45177




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                        1/4
9/13/2019                                                                    Details
             Case 3:19-cv-02205-M-BH Document 1-3 Filed 09/16/19                        Page 2 of 32 PageID 9

             Bond


                     Bond Type                   Bond Number              Bond Amount   Current Bond Status

                     TRO CASH BOND                                        $500.00       POSTED




             Events and Hearings


                08/30/2019 NEW CASE FILED (OCA)


                08/30/2019 ORIGINAL PETITION


                ORIGINAL PETITION

                PROPOSED TRO

                   Comment
                   PLAINTIFFS' ORIGINAL PETITION. APPLICATION FOR INJUNCTIVE RELIEF, AND REQUEST FOR
                   DISCLOSURES


                08/30/2019 ISSUE TRO


                   Comment
                   $20 COPY FEE STILL DUE


                08/30/2019 SERVICE - CERTIFIED / REGISTERED MAIL


                08/30/2019 ORDER - TEMPORARY RESTRAINING ORDER


                ORDER - TEMPORARY RESTRAINING ORDER


                09/27/2019 TEMPORARY INJUNCTION


                1 CLERK HEARING NOTICE

                1 CLERK HEARING NOTICE

                1 CLERK HEARING NOTICE

                Judicial Oﬃcer
                ROSALES, PAULA



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                         2/4
9/13/2019                                                                                                  Details
             Case 3:19-cv-02205-M-BH
               Hearing Time          Document 1-3 Filed 09/16/19                                                                         Page 3 of 32 PageID 10
                 10:30 AM


                 01/20/2020 DISMISSAL HEARING


                 3 CCL#4 Y LETTER

                 Judicial Oﬃcer
                 ROSALES, PAULA

                 Hearing Time
                 9:00 AM




             Financial

             SUMMERS, JAMES
                       Total Financial Assessment                                                                                                                            $346.00
                       Total Payments and Credits                                                                                                                            $346.00


               8/30/2019 Transaction Assessment                                                                                                                            $346.00
             ···················································································---------············································-------
                                                                                                                                           ---------·-·····································
               8/30/2019 CREDIT CARD - TEXFILE                                             Receipt # CV-2019-                           SUMMERS,                        ($346.00)
                                      (CC)                                                 12313                                        JAMES
             ···················································································---------············································-------
                                                                                                                                           ---------·-·····································




             Documents

             --------------------------------------------------------------------
                 ORIGINAL PETITION

                 PROPOSED TRO

                 ORDER - TEMPORARY RESTRAINING ORDER
                 1 CLERK HEARING NOTICE

                 1 CLERK HEARING NOTICE
                 1 CLERK HEARING NOTICE

                 3 CCL#4 Y LETTER
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                                                                                                       3/4
9/13/2019                                                                 Details
             Case 3:19-cv-02205-M-BH Document 1-3 Filed 09/16/19                    Page 4 of 32 PageID 11
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https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      4/4
                                                                                                                FILED
                                                                                                    8/30/2019 7:49 AM
                                                                                                    JOHN F. WARREN
 Case 3:19-cv-02205-M-BH Document 1-3 Filed 09/16/19                 Page 5 of 32 PageID 12           COUNTY CLERK
                                                                                                     DALLAS COUNTY



                                              CC-19-05426-D
                                    CAUSE NO. ----

JAMES SUMMERS AND                            §       IN THE COUNTY COURT
FELICITAS SUMMERS,                           §
                                             §
        Plaintiffs,                          §
                                             §
v.                                           §       AT LAW NO.
                                             §
LIBERTY SAVINGS BANK, FSB,                   §
                                             §
                                             §
        Defendant.                           §       DALLASCOUNTY,TEXAS

     PLAINTIFFS' ORIGINAL PETITION, APPLICATION FOR INJUNCTIVE RELIEF,
                       AND REQUEST FOR DISCLOSURES

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW James Summers and Felicitas Summers, Plaintiffs herein, filing this Original

Petition, Application for Injunctive Relief, and Request for Disclosures complaining of Liberty

Savings Bank, N.A. ("Defendant" herein), and for causes of action would respectfully show the

Court as follows:

                                          DISCOVERY

        1.      Plaintiffs intend to conduct discovery under Texas Rules of Civil Procedure 190.3

(Level 2).

                                            PARTIES

        2.     Plaintiffs are individuals who reside in Dallas County, Texas and may be served

with process on the undersigned legal counsel.

        3.      Liberty Savings Bank, FSB is foreign financial entity which conducts business in
Dallas County, Texas and may be served with process as follows:
                       Liberty Savings Bank, FSB
                       C/O its corporate officer
                       3435 Airborne Road, Suite B
                       Wilmington, Ohio 45177


                                                 1
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                                 JURISDICTION AND VENUE

       4.     The Court has jurisdiction over Defendant because this defendant is a foreign financial

entity which conducts business in Dallas County, Texas. The Court has jurisdiction over the

controversy because the damages are within the jurisdictional limits of the Court.

       5.      Venue is mandatory in Dallas County, Texas because the subject matter of the

lawsuit involves real property which is located in Dallas County, Texas. Further, all or a substantial

part of the events or omissions giving rise to Plaintiffs' causes of action occurred in Dallas County,

Texas thus venue is proper under §15.002(a)(l) of the Texas Civil Practice and Remedies Code.

                                       RELEVANT FACTS

       6.       Plaintiffs purchased the Property located at 532 Lea Valley Circle, Coppell, Texas

75019 on or about December 4, 1980 and in conjunction therewith, Plaintiffs executed a Note in

the amount of $158,400.00 ("Note") and a Deed of Trust in which Gibraltar Savings Association

was listed as the beneficiary ("Deed of Trust"). The Deed of Trust was recorded in the real property

records of Dallas County, Texas under book 80239, page 710.

       7.      Plaintiffs' loan was allegedly assigned to Defendant, with Cenlar FSB ("Cenlar")

servicing the loan on behalf of Defendant.

        10.    Plaintiffs contacted Defendant in January 2019 to apply for a loan modification.

Plaintiffs then submitted a complete application for a loan modification to Defendant.

        11.    Plaintiffs received a letter from Defendant dated January 16, 2019 stating they had

received the application, it was complete, no further action was needed by Plaintiffs, and that it

would be reviewed within 30 days.

        12.    However, Plaintiffs did not receive approval or denial of the modification. Instead,

Defendants told Plaintiffs that they should submit another loan modification application.


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        13.    Plaintiffs then submitted another loan modification application in April 2019.

Plaintiffs received a letter from Defendant dated April 9, 2019 stating they had received the

application, it was complete, no further action was needed by Plaintiffs, and that it would be

reviewed within 30 days. However, Plaintiffs did not receive approval or denial of the modification.

Instead, Defendant told Plaintiffs that they should submit another loan modification application

        14.    Plaintiffs then submitted another loan modification application in July 2019.

Plaintiffs received a letter from Defendant dated July 19, 2019 stating they had received the

application, it was complete, no further action was needed by Plaintiffs, and that it would be

reviewed within 30 days.

        15.    Plaintiffs continued to call Defendant to follow up on the application. However,

Plaintiffs did not receive approval or denial of the modification.

        16.    Plaintiff followed up with Defendant and was told that the foreclosure sale was set

for September 3, 2019. Plaintiffs spoke with Victor, a representative for Defendant, in August 2019

and Victor advised them that even though the foreclosure date is September 3, 2019, Plaintiffs

should submit another loan modification application for consideration.      Plaintiff inquired why

hadn't the previous loan modifications been reviewed and ruled upon. Plaintiff was then told that

when the underwriter team for Defendant sits down to look at a loan modification packet,

everything must be in front of them, not at another person's desk, or on another computer, and that

they don't keep all the documents saved in one location, and that if they don't have all the

documents in front of them, even if they are somewhere in Defendant's possession, they don't

review it.

        17.    Plaintiffs have submitted three complete loan modification applications in 2019

which have not been fully reviewed and ruled upon by Defendant.



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        18.     Instead, Defendant has the Property set for foreclosure on September 3, 2019, in

violation of state and federal law.

                                                CLAIMS

                             AGENCY & RESPONDEAT SUPERIOR

         19.    Wherever it is alleged that Defendant did anything, or failed to do anything, it is

meant that such conduct was done by Defendant's employees, vice principals, agents, attorneys,

and/or affiliated entities, in the normal or routine scope of their authority, or ratified by Defendant,

or done with such apparent authority so as to cause Plaintiffs to reasonably rely that such conduct

was within the scope of their authority. Plaintiffs did rely to Plaintiffs' detriment on Defendant's

representatives being vested with authority for their conduct. Defendant is vicariously liable for

the conduct of their employees, vice principals, agents, attorneys, affiliated entities, and

representatives of Defendant's affiliated entities by virtue of respondeat superior, apparent

authority, and estoppel doctrines.

                                     FIRST CAUSE OF ACTION:
                                      BREACH OF CONTRACT

        20.     To the extent not inconsistent herewith, Plaintiffs incorporate by reference the

allegations made above as if set forth fully herein.

        18.     The actions committed by Defendant constitutes breach of contract because:

                A.      There exists a valid, enforceable contract between Plaintiffs and Defendant;

                B.      Plaintiffs have standing to sue for breach of contract;

                C.      Plaintiff performed, tendered performance, or was excused from

                performing the contractual obligations;

                D.      Defendant breached their contract; and

                E.      The breach of contract by Defendant caused Plaintiffs' injury - numerous


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               erroneous expenses, overcharges, penalties, and interest on the Loan.

                                 SECOND CAUSE OF ACTION:
                                   COMMON LAW FRAUD

       19.    To the extent not inconsistent herewith, Plaintiffs incorporate by reference the

allegations made above as if set forth fully herein.

       20.          The actions committed by Defendant constitutes common law fraud because

Defendant made false and material representations to Plaintiffs by, among other things, misstating

and mischaracterizing the loan modification services that were available to Plaintiffs. Defendant

knew that the representations were false or made these representations recklessly, as a positive

assertion, and without knowledge of its truth. In addition, Defendant made these representations

with the intent that Plaintiffs act on them and Plaintiff relied on these representations which caused

Plaintiffs injury - numerous out of pocket expenses, lost time, lost wages, and mental anguish and

emotional distress.

                                  THIRD CAUSE OF ACTION:
                                   PROMISSORY ESTOPPEL

       21.     To the extent not inconsistent herewith, Plaintiffs incorporate by reference the

allegations made above as if set forth fully herein.

       22.     The actions committed by Defendant constitutes promissory estoppel because:

               A.      Defendant made a promise to Plaintiffs;

               B.      Plaintiffs reasonably and substantially relied on the promise to their

               detriment;

               C.      Plaintiffs' reliance was foreseeable by Defendant; and

               D.      Injustice can be avoided only by enforcing Defendant's promise.

                                FOURTH CAUSE OF ACTION:
                                  VIOLATION OF RESPA


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       23.     To the extent not inconsistent herewith, Plaintiffs incorporate by reference the

allegations made above as if set forth fully herein.

       24.     Plaintiffs submitted an applications for loss mitigation, as understood by 12 CFR §

1024.41(c), to Defendants.

       25.     Section 1024.41(c)(l)(ii) requires that the servicer provide "notice in writing stating

the servicer's determination of which loss mitigation options, if any, it will offer to the borrower

on behalf of the owner or assignee of the mortgage."

       26.     Section 1024.41 (d) further requires that if the application "is denied for any trial or

permanent loan modification option available to the borrower pursuant to paragraph (c) of this

section, a servicer shall state in the notice . . . the specific reason or reasons for the servicer' s

determination for each such trial or permanent loan modification option and, if applicable, that the

borrower was not evaluated on other criteria."

       27.     Here, Defendant never denied Plaintiffs' application in writing and never gave a

reason for its denial in writing. In terms of loan modification specifically, Defendant has violated

12 CFR § 1024.41(d) by failing to provide a written denial of Plaintiffs' application and the reason

or reasons for denial of the application. Further, there is no indication that Plaintiffs were fully

considered for any other loss mitigation options.

       28.     Defendant violated 12 CFR § 1024.41(c) by failing to send written notice of its

denial. Further, Defendant failed to evaluate Plaintiffs for all loss mitigation options and to provide

proper notice of such evaluation.

       29.     Pursuant to 12 CFR § 1024.41(f)(2), (g), Defendant is prohibited from initiating

foreclosure proceedings or foreclosing on the Property until Defendant gives Plaintiffs the proper

notice described in 12 CFR § 1024.41(c)(l)(ii). This prohibition applies even if the foreclosure



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process has started, so long as the application was submitted at least thirty-seven (37) days prior to

the scheduled foreclosure sale. See 12 CFR § 1024.41(g).

        30.    In addition to being a defense to foreclosure, the above regulation provides that a

violation is actionable pursuant to Section 6(f) of the Real Estate Settlement Procedures Act

(RESP A) (12 U.S.C. § 2605(±)). See 12 CFR § 1024.41(a). This Section allows for the recovery of

actual damages, statutory damages of up to $2,000, court costs, and attorneys' fees. 12 U.S.C. §

2605(±).

                           FIFTH CAUSE OF ACTION:
                VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

        31.    To the extent not inconsistent herewith, Plaintiffs incorporate by reference the

allegations made above as if set forth fully herein.

        32.     This includes an action for violations of the Texas Debt Collection Act ("TDCA")

against Defendant. See Tex. Fin. Code§§ 392.001 et seq.

        33.      Plaintiffs are a "consumer" within the meaning of Section 392.001 of the Texas

Finance Code, and the debt in question relating to the Property is a "consumer debt" within the

meaning of such statute.

        34.      Defendants are debt collectors. "Debt collection" is defined as the act or practice

"in collecting, or in soliciting for collection, consumer debts that are due or alleged to be due a

creditor." A "debt collector" therefore includes a creditor who is collecting its own debt. Smith v.

Heard, 980 S.W.2d 693, (Tex. App.-San       Antonio, 1998, pet. denied) (A creditor is not excused

from following the provisions of the TDCA on the basis that the debt is owed directly to the

creditor).

        35.      The acts, omissions, and conduct of Defendant, as alleged above, herein, and

below, constitute violations of the following provisions of the TDCA:

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                     a. Threatening to take an action prohibited by law, specifically seeking to

                         sell the Property at a foreclosure sale in violation of state and federal law.

                         See Tex. Fin. Code§§ 392.301(a)(8).

                     b. Using a fraudulent, deceptive, or misleading representation that

                         misrepresent[s] the character, extent, or amount of a consumer debt."

                         Tex. Fin. Code § 392.304(a)(8).

                     c. Misrepresenting the status or nature of the services rendered by the debt

                         collector. See Tex. Fin. Code§ 392.304(a)(14).

                     d. Using other false representation or deceptive means to collect a debt. See

                         Tex. Fin. Code§ 392.304(a)(19).

       36.       Defendant sought to sell the Property at a foreclosure sale prior to giving

Plaintiffs the notices required by RESP A. This was a violation of federal law, which in tum was

also a violation of TDCA Section 392.301(a)(8). While Defendant may have had contractual

authority under the deed of trust to conduct a nonjudicial foreclosure sale in certain circumstances,

Defendant sought to foreclose under circumstances prohibited by RESP A. Therefore, by moving

forward with foreclosure proceedings, Defendant threatened to take an action prohibited by law.

       37.       Additionally, Defendant made significant types of misrepresentations to

Plaintiffs about the status of their loan and its own services constituting violations of TDCA

Sections 392.304(a)(8), 392.304(a)(19), and 392.304(a)(14).

       38.       Defendant later represented to Plaintiffs that their loan was eligible for

 modification and a modification of the loan would be finalized and forthcoming. Instead,

 Defendant informed Plaintiffs that their loan had gone into foreclosure status. By representing to

 Plaintiffs that their application had been accepted and that loan terms would soon be modified,


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  Defendant again misrepresented to Plaintiffs the status of their loan. This was false, misleading,

  and deceptive in violation ofTDCA Section 392.304(a)(8).

        39.      As a result of these violations of the TDCA, Plaintiffs are entitled to relief

provided by Section 392.403, including but not limited to recovery of all actual damages

sustained as a result of violations of the TDCA, all actual direct and indirect economic damages,

damages for lost time, damages for mental anguish and emotional distress, damages resulting from

payment of excess or additional interest, and any consequential damages. Plaintiff is also entitled

to exemplary damages and attorneys' fees. See Tex. Fin. Code§ 392.403.

                               SIXTH CAUSE OF ACTION:
                           BREACH OF DUTY OF COOPERATION

       40.       To the extent not inconsistent herewith, Plaintiffs incorporate by reference the

allegations made above as if set forth fully herein.

       41.       Texas law recognizes a duty to cooperate that "is implied in every contract in

which cooperation is necessary for performance of the contract." This duty "requires that a party

to a contract may not hinder, prevent, or interfere with another party's ability to perform its duties

under the contract." Case Corp. v. Hi-Class Bus. Sys. of Am., Inc., 184 S.W.3d 760, 770 (Tex.

App.-Dallas    2005, pet. denied).

       42.       As described above, Defendants misled Plaintiff with oral and written

representations regarding her Loan, representations that were untrue. Defendants did not provide

Plaintiffwith the informationneeded to properly perform the obligationsof the Loan. Defendants have

therefore breached the implied duty of cooperation. Plaintiff has suffered damages as a result.

                               SEVENTH CAUSE OF ACTION:
                             NEGLIGENT MISREPRESENTATION

       43.     To the extent not inconsistent herewith, Plaintiffs incorporate by reference the



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allegations made above as if set forth fully herein.

       44.     The elements of a claim for negligent misrepresentation are: (1) the representation

is made by a defendant in the course of its business, or in a transaction in which it has a pecuniary

interest; (2) the defendant supplies "false information" for the guidance of others in their business;

(3) the defendant does not exercise reasonable care or competence in obtaining or communicating

the information; and (4) the plaintiff suffers pecuniary loss by justifiably relying on the

representation. Fed. Land Bank Ass'n of Tyler v. Sloane, 825 S.W.2d 439, 442 (Tex. 1991).

       45.     In the course of their businesses and in a transaction in which it had a pecuniary

interest, Defendant represented to PlaintiffS the services and loss mitigation options available to

Plaintiffs. Defendant then pursued foreclosure against Plaintiffs. The information provided by

Defendant to Plaintiffs was false. At best Defendant supplied this information without exercising

reasonable care or competence in their communications with Plaintiffs. As a result of relying on

Defendants' misrepresentations, Plaintiff has suffered pecuniary loss, and faces further pecuniary

loss if Defendants are permitted to foreclose, have suffered mental anguish, and out of pocket

expenses.

                                            DAMAGES:

                                      ACTUAL DAMAGES

       46.       Plaintiffs are entitled to recover actual damages from Defendant for which Plaintiff

pleads in an amount which does not exceed the jurisdictional limits of this Court. Plaintiffs face

loss of equity in the Property if Defendants are permitted to foreclose. Plaintiffs suffered lost time

damages as a direct result of attempting to save the Property and in connection with the threat of

foreclosure.   Plaintiffs also suffered economic damages through payment of improper fees,

expenses, and charges forced by Defendants' misconduct.           Plaintiffs suffered out of pocket



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expenses, lost time, and lost wages.

        4 7.     Further, Plaintiffs suffered mental anguish damages in connection with

Defendants' violations and threat to foreclose on the Property. Plaintiffs' mental anguish caused a

substantial disruption in their daily routine and job performance. Specifically, the mental anguish

caused by the improper conduct, Plaintiffs' frustrated efforts to resolve the improper conduct, and

the threatened foreclosure sale, interfered with Plaintiffs' ability to sleep and perform normal daily

activities.

                                   EXEMPLARY DAMAGES

        48.     Plaintiffs are entitled to recover exemplary damages from Defendant for which

Plaintiffs plead in an amount which does not exceed the jurisdictional limits of this Court.

Plaintiffs are also entitled to exemplary damages under the TDCA. See Morante v. Am. Gen.

Fin. Ctr., 157 F.3d 1006, 1011 (5th Cir. 1998); Enis v. Bank of Am., NA., No. 3:12-CV- 0295-D,

2012 WL 4741073, at *8 (N.D. Tex. Oct. 3, 2012) (Fitzwater, J.).

                                   STATUTORY DAMAGES

        49.    Further, Plaintiffs are entitled to an award of statutory damages.

                                       ATTORNEYS' FEES

        50.      Pursuant to Section 392.403 of the Texas Finance Code, Plaintiffs are entitled

to recover attorneys' fees reasonably related to the amount of work performed and costs, for all

actions in the trial court, the Court of Appeals, and the Supreme Court.

        51.    Plaintiffs were forced to employ the undersigned attorneys to represent them and

have agreed to pay them reasonable attorneys' fees for their services. Plaintiffs are also entitled to

recover reasonable attorneys' fees pursuant to Chapter 38 of the Texas Civil Practices & Remedies

Code for which Plaintiffs plead in an amount which does not exceed the jurisdictional limits of this


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Court.

                                     CONDITIONS PRECEDENT

         52.   All conditions precedent to the Plaintiffs' right to bring these causes of action have

been performed, have occurred, or have been waived.

                                 REQUEST FOR DISCLOSURES

         53.   Defendant is hereby requested to disclose to Plaintiffs, within 50 days of service of

this request, the information and material described in Rule 194 of the Texas Rules of Civil

Procedure.

               APPLICATION FOR TEMPORARY RESTRAINING ORDER

         54.   To the extent not inconsistent herewith, Plaintiffs incorporate by reference the

allegations made above as if set forth fully herein.

         55.   Unless Defendant is enjoined, Plaintiffs will suffer probable harm which is imminent

and irreparable. More specifically, if not enjoined, Defendant may sell the Property at any time

during the pendency of this matter thus depriving Plaintiffs of ownership of the Property and

potentially causing Plaintiffs to be dispossessed of the Property. Plaintiffs have no adequate remedy

at law because the subject matter is real property, and any legal remedy of which Plaintiffs may

avail themselves will not give as complete, equal, adequate, and final a remedy as the injunctive

relief sought in this Application.

         56.   Therefore, Plaintiffs request that this Court issue a Temporary Restraining Order

and, thereafter, a Temporary Injunction, to restrain Defendant from selling the real property

commonly known as 532 Lea Valley Circle, Coppell, Texas 75019 as well as from taking any legal

action to evict Plaintiffs and any other occupants from, or enforcing a writ of possession regarding,



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the aforementioned property.

       57.        Plaintiffs further requests that, upon trial on the merits, Defendant be permanently

enjoined from the same acts listed in Paragraph 56 above.

       58.        Plaintiffs are likely to prevail on the merits of the lawsuit as described above.

       59.        The granting of the relief requested is not inconsistent with public policy

considerations.

                                                  BOND

       60.        Plaintiffs are willing to post a reasonable temporary restraining order bond and

requests that the Court set such bond.

                                                PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully requests that:

       A.         Defendant be cited to appear and answer herein;

       B.         The Court conduct a hearing on Plaintiffs' Application for Injunctive Relief;

       C.         A temporary restraining order be issued restraining Defendant, their agents,

                  employees, and legal counsel, and those acting in concert or participation with

                  Defendants who receive actual notice of the Order, by personal service or otherwise,

                  from selling the real property which is the subject matter of this lawsuit and is

                  commonly known as 532 Lea Valley Circle, Coppell, Texas 75019;

       D.         A Permanent Injunction be entered enjoining Defendant from the same acts listed in

                  Paragraph C above; and

       E.         Upon final hearing or trial hereof, the Court order a judgment in favor of Plaintiffs

                  against Defendant for actual damages, exemplary damages, reasonable attorneys'



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           fees, all costs of court , and such other and further relief, both general and special , at

           law or in equity, to which Plaintiffs may be entitled.

                                                    Respectfully submitted ,

                                                    VILT AND ASSOCIATES , P.C.

                                                    /s/ Jason A. LeBoeuf
                                                    ROBERT C. VILT
                                                    Texas Bar Number 00788586
                                                    Email: clay@viltlaw .com
                                                    5177 Richmond A venue, Suite 1142
                                                    Houston, Texas 77056
                                                    Telephone:    713.840.7570
                                                    Facsimile:    713.877.1827

                                                    JASON A. LEBO EUF
                                                    Texas Bar Number 24032662
                                                    Email: jason@viltlaw .com
                                                    KERRY PRISOCK
                                                    Texas Bar Number 24082005
                                                    Email: kerry@viltlaw .com
                                                    Richardson Telecom
                                                    2435 North Central Expressway, Suite 1200
                                                    Richardson , Texas 75080
                                                    Telephone:     1.844.411.9458
                                                    Facsimile:     1.844.875.3062

                                                    ATTORNEYSFOR PLAINTIFF




                                               14
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                                   CAUSE NO.
                                                 ----
  JAMES SUMMERSAND                          §       IN THE COUNTY COURT
  FELICITAS SU~IERS~                        §
                                            §
       Plaintiffs~                          §
                                            §
  v.                                        §       ATLAWNO .
                                            §
  LIBERTY SAVINGS BANK, FSB,                §
                                            §
                                            §
       Def~ndant.                           §       DALLAS COUNTYtTEXAS

                              PLAINTIFF'S DECLARATION

       •• 4.yname is James Summers and I am the Plaintiff in the abov€--captionedlawsuit. I have
       read the Plaintiff's Ortginal Petition,Application for Injunctive Relief, and Re.questfor
       Disclosures to which this Declaration relates and offer this Declaration in support of the.
       statements and arguments asse1ted therein.

       My name is James Summers, my .date ofbfrth is          1//z..j;f'-I '>         , and my
       addt-ess is 532 Lea Val ey Cir, Coppell, Texas 75019. I declare 1mder penalty of perjuty
       that the foregoing .h1fonnafon is true and Ol)ff~ct.''

       Executed in Dallas County. State of Te as, on the 29 111 day of August 2019.

                                                     ~
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                                    CAUSE NO. ----

JAMES SUMMERS AND                             §       IN THE COUNTY COURT
FELICITAS SUMMERS,                            §
                                              §
       Plaintiffs,                            §
                                              §
v.                                            §       AT LAW NO.
                                              §
LIBERTY SAVIN GS BANK, FSB,                   §
                                              §
                                              §
       Defendant.                             §       DALLASCOUNTY,TEXAS

                             CERTIFICATE OF CONFERENCE

       Pursuant to Dallas County Local Rules, the undersigned counsel for Plaintiff named in the

above styled and numbered cause, hereby certifies his efforts to notify the Defendants of the filing

of Plaintiffs Original Petition, Application for Injunctive Relief, and Request for Disclosures

(Petition") and Temporary Restraining Order ("TRO") prior to seeking entry of the TRO, as

follows:

       On August 30, 2019, at 2:35 a.m., I sent an email to Annarose Harding at

Annarose.Harding@tx.cslegal.com, an attorney with Defendant's foreclosure counsel, Codilis &

Stawiarski, P.C., and provided them with copies of the Petition and TRO and advised them that

we would be seeking entry of the TRO at least two hours after providing the email notification. I

certify that the foregoing was completed at least (2) hours before seeking entry of the TRO.

                                                      Respectfully submitted,

                                                      VILT AND ASSOCIATES, P.C.

                                                      Isl Jason A. LeBoeuf
                                                      Jason A. LeBoeuf
                                                      Texas Bar Number 24032662
                                                      Email: jason@viltlaw.com
                                                      Richardson Telecom
                                                      2435 North Central Expressway, Suite 1200



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Case 3:19-cv-02205-M-BH Document 1-3 Filed 09/16/19    Page 21 of 32 PageID 28



                                         Richardson, Texas 75080
                                         Telephone:    214.712.7495
                                         Facsimile:    713.877.1827

                                         Robert C. VILT
                                         Texas Bar Number 00788586
                                         Email: clay@viltlaw.com
                                         5177 Richmond A venue, Suite 1142
                                         Houston, Texas 77056
                                         Telephone:   713.840.7570
                                         Facsimile:   713.877.1827

                                         ATTORNEYSFOR PLAINTIFF




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                                               CC-19-05426-D
                                     CAUSE NO. -----

JAMES SUMMERS AND                             §       IN THE COUNTY COURT
FELICITAS SUMMERS,                            §
                                              §
        Plaintiffs,                           §
                                              §
v.                                            §       AT LAW NO.
                                              §
LIBERTY SAVINGS BANK, FSB,                    §
                                              §
                                              §
        Defendant.                            §       DALLASCOUNTY,TEXAS

                            TEMPORARY RESTRAINING ORDER

        ON THIS DATE the Plaintiffs' Original Petition, Application for Injunctive Relief, and

Request for Disclosures ("Petition") in this cause, was heard and considered before this Court.

        Based upon the pleadings, exhibits, records, and documents filed by Plaintiff and presented

to the Court, as well as the arguments of legal counsel at the hearing, IT CLEARLY APPEARS

THAT:

        A.      Unless Defendant, their agents, employees, directors, shareholders, and legal

counsel is/are immediately enjoined and restrained, Defendant may sell the Property at any time

during the pendency of this matter thus depriving Plaintiffs of ownership of the Property identified

and described in the Petition and potentially causing Plaintiffs to be dispossessed of the Property or

take legal action to evict Plaintiffs or any other occupants from the aforementioned Property or

enforcing a writ of possession regarding the aforementioned Property, and Plaintiffs will suffer an

immediate and irreparable harm and will have no adequate remedies under the law, and Defendant

may commit the foregoing before notice and hearing on Plaintiffs Application for Injunctive Relief.

        B.      Plaintiffs will suffer an irreparable harm if Defendant, their agents, employees,

directors, shareholders, and legal counsel are not restrained immediately because Defendant has




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scheduled Plaintiffs' Property for a foreclosure sale to take place on September 3, 2019 - that is

real property and Plaintiffs' residence, which is unique and irreplaceable, and there is no adequate

remedy at law to grant Plaintiffs complete, final, and equitable relief.

       C.      Plaintiffs provided notice to Defendant through electronic communication with

Defendants' agent( s) in the aforementioned lawsuit, of the filing of Plaintiffs' Original Petition,

Application for Injunctive Relief, and Request for Disclosures as well as Temporary Restraining

Order at least two (2) hours before this Court conducted this hearing.

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Defendant, their

agents, employees, directors, shareholders, and legal counsel are hereby ORDERED to immediately

cease and desist from selling the real property which is the subject matter of this lawsuit and is

commonly known as 532 Lea Valley Cir, Coppell, Texas 75019 as well as from taking any legal

action to evict Plaintiffs or any other occupants from the aforementioned property or enforcing a

writ of possession regarding the aforementioned property. Defendant, their agents, employees,

directors, shareholders, and legal counsel are hereby immediately enjoined and restrained from the

date of entry of this Order until fourteen (14) days hereafter, or until further ordered by this Court.

       IT IS FURTHER THEREFORE ORDERED, ADJUDGED, AND DECREED that

Plaintiffs' Application for Temporary Injunction be heard on the __           day of September, 2019

starting at ______         a.m./p.m. in the courtroom of the County Court at Law No. __      of Dallas

County located at 600 Commerce Street, Dallas, Texas 75202 and that Defendant is commanded to

appear at that time and show cause, if any, why a temporary injunction should not be issued against

Defendant.

       The Clerk of the above-entitled court shall issue a notice of entry of a temporary restraining

order in conformity with the law and the terms of this Order, to include a copy of this Order, upon




                                                   2
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the filing by Plaintiff of the bond hereinafter set.

        This Order shall not be effective until Plaintiffs deposit with the Dallas County Clerk, a

bond in the amount of$ _____              .,in due conformity with applicable law. The bond may be

in the form of cash, cashier's check, or a check drawn from operating account of Plaintiffs'

attorney's law firm.

        SIGNED and ENTERED this the ___                    day of August, 2019, at ___   a.m./p.m.




                                JUDGE PRESIDING




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  Case 3:19-cv-02205-M-BH Document 1-3 Filed 09/16/19                      Page 25 of 32 PageID 32


                                                          CC-19-05426-O
                                          AU ENO.
                                                          ----
   JAME    MM R AND                               §         IN THE COUNTYCOURT
   FELi ITA UMMER ,                               §
                                                  §
           Plaintiff:,                            §
                                                  §
                                                  §        AT LAW NO.
                                                  §
   LIBERTY A ING BANK, FSB,                       §
                                                  §
                                                  §
           Det ndant.                             §        DALLASCOUNTY,TEXAS

                               TEMPORARYRESTRAININGORDER

           0    THIS DATE the Plaintiffs' Original Petition, Application for Injunctive Relief, and

   Reque t for Disclo ures ("Petition") in this cause, was heard and considered before this Court.

           Based upon the pleadings, exhibits, records, and documents filed by Plaintiff and presented

   to the Court, as well as the arguments of legal counsel at the hearing , IT CLEARLY APPEARS

   THAT:

           A.     Unless Defendant, their agents, employees, directors, shareholders, and legal

   counsel is/are immediately enjoined and restrained, Defendant may sell the Property at any time

   during the pendency of this matter thus depriving Plaintiffs of ownership of the Property identified

   and described in the Petition and potentially causing Plaintiffs to be dispossessed of the Property or

   take legal action to evict Plaintiffs or any other occupants from the aforementioned Property or

   enforcing a writ of possession regarding the aforementioned Property, and Plaintiffs will suffer an

  immediate and irreparable harm and will have no adequate remedies under the law, and Defendant

  may commit the foregoing before notice and hearing on Plaintiff's Application for Injunctive Relief.

           B.     Plaintiffs will suffer an irreparable harm if Defendant, their agents, employees,

   directors, shareholders, and legal counsel are not restrained immediately because Defendant has




                                                      I
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    scheduled Plaintiff s' Property for a foreclosure sale to take place on September 3, 2019 - that is

    real prop erty and Plaintiffs' residence , which is unique and irreplaceable, and there is no adequate

    remedy at law to grant Plaintiffs complete, final, and equitable relief.

           C.      Plaintiffs provided notice to Defendant through electronic communication with

    Defen dants' agent(s) in the aforementioned lawsuit , of the filing of Plaintiffs' Original Petition,

 Application for Injunctive Relief, and Request for Disclosures as well' as Temporary Restraining

 Order at least two (2) hours before this Court conducted this hearing.

           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Defendant, their

agents , employees, directors , shareholders, and legal counsel are hereby ORDERED to immediately

cease and desist from selling the real property which is the subject matter of this lawsuit and is

COI11JllOnly
          known as 532 Lea Valley Cir, Coppell, Texas 75019 as well as from taking any legal

action to evict Plaintiffs or any other occupants from the aforementioned property or enforcing a

writ of possession regarding the aforementioned property. Defendant, their agents, employees,

directors , shareholders, and legal counsel are hereby immediately enjoined and restrained from the

date of entry of this Order until fourteen (14) days hereafter, or until further ordered by this Court.

           IT IS FURTHER THEREFORE ORDERED, ADJUDGED, AND DECREED that

Plaintiffs' Application for Temporary Injunction be heard on the         J3._day of September,      2019

starting at--~'      ~'
                     --G./p.m
                          .             in the courtroom of the County Court at Law No.j_       of Dallas

County located at 600 Commerce Street, Dallas, Texas 75202 and that Defendant is commanded to

appear at that time and show cause, if any, why a temporary injunction should not be issued against
I




Defendant.

          The Clerk of the above-entitled court shall issue a notice of entry of a temporary restraining

order in conformity with the law and the terms of this Order, to include a copy of this Order, upon




                                                     2
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 the filing by Plaintiffof the bond hereinafterset,

         This Order shall not be effective until Plaintiffs deposit with the Dallas County Clerk, a

 bond in the amount of$     ?00          , in due confonnitywith applicablelaw. The bond may b
 in the fonn of cash, cashier's check, or a check drawn from operating account of Plaintiffs'
 attorney's law finn.

        SIGNEDand ENTEREDthis the           30        day of August,2019, at   S:'i'I   a.me




                                               3
                                             OFFICIAL RECEIPT
            Case 3:19-cv-02205-M-BH
              DALLAS                DocumentRECEIPT
                        COUNTY CLERK-CIVIL  1-3 FiledJOHN
                                                      09/16/19  Page 28COUNTY
                                                           F. WARREN,   of 32 PageID
                                                                               CLERK35
Payor                                                                                                     Receipt No.
LEBOEUF , JASON                                                                                    CV-2019-12387
2435 N CENTRAL EXPY
STE 1200                                                                                             Transaction Date
RICHARDSON , TX 75080-2747                                                                              08/30/2019
I Description                                                                                          Amount Paid    I
 On Behalf Of SUMMERS , JAMES
            CC-19-05426-D
            JAMES SUMMERS , FELICITAS SUMMERS vs . LIBERTY SAVINGS BANK, FSB
            Bond Account
                              RESTRICTED DEPOSIT                                                            500.00
                              SUBTOTAL                                                                      500.00

                                                                         PAYMENTTOTAL ~I ____             5_0_0._00__

                                                                    CHECK (Ref #1365) Tendered              500.00
                                                                                  Total Tendered            500.00
                                                                                         Change                0.00

                             08/30/2019             Cashier                         Audit
                             04:20 PM               Station CC040               63162059
                                            OFFICIAL RECEIPT
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                                    JOHN   F. WARREN
                                     COUNTY CLERK
                                     600 COMMERCE
                                  DALLAS, TEXAS 75202

JASON LEBOEUF
2435 N CENTRAL EXPY STE 1200
RICHARDSON TX 75080-2747
                                                                           September 11, 2019

                                 Cause No. CC-19-05426-D

JAMES SUMMERS; FELICITAS SUMMERS

       Plaintiff(s)
vs .

LIBERTY SAVIN GS BANK, FSB

               Defendant(s)

                                  NOTICE OF HEARING

Pursuant to TRCP 680 Judge Rosales is continuing your Temporary Injunction for 14 days. Your
new hearing date on the TEMPORARY INJUNCTION has been set for:

                              September 27, 2019, at 10:30 AM

in the County Court at Law No. 3, George Allen Courts Building, 600 Commerce, 5th floor
Dallas, Texas 75202


               SIGNED this 11th day of September, 2019




                      DEPUTY CLERK
                      County Court At Law No. 4
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                                    JOHN   F. WARREN
                                     COUNTY CLERK
                                     600 COMMERCE
                                  DALLAS, TEXAS 75202

LIBERTY SAVIN GS BANK, FSB
C/O ITS CORPORATE OFFICER
3435 AIRBORNE ROAD SUITE B
WILMINGTON OH 45177
                                                                           September 11, 2019

                                 Cause No. CC-19-05426-D

JAMES SUMMERS; FELICITAS SUMMERS

       Plaintiff(s)
vs .

LIBERTY SA VIN GS BANK, FSB

               Defendant(s)

                                  NOTICE OF HEARING

Pursuant to TRCP 680 Judge Rosales is continuing your Temporary Injunction for 14 days. Your
new hearing date on the TEMPORARY INJUNCTION has been set for:

                              September 27, 2019, at 10:30 AM

in the County Court at Law No. 3, George Allen Courts Building, 600 Commerce, 5th floor
Dallas , Texas 75202


               SIGNED this 11th day of September, 2019




                      DEPUTY CLERK
                      County Court At Law No. 4
Case 3:19-cv-02205-M-BH Document 1-3 Filed 09/16/19             Page 31 of 32 PageID 38




                                    JOHN   F. WARREN
                                     COUNTY    CLERK
                                    600 COMMERCE
                                 DALLAS, TEXAS 75202

FILE COPY


                                                                          September 11, 2019

                                 Cause No. CC-19-05426-D

JAMES SUMMERS; FELICITAS SUMMERS

       Plaintiff(s)
vs.

LIBERTY SAVIN GS BANK, FSB

               Defendant(s)

                                  NOTICE OF HEARING

Pursuant to TRCP 680 Judge Rosales is continuing your Temporary Injunction for 14 days. Your
new hearing date on the TEMPORARY INJUNCTION has been set for:

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in the County Court at Law No. 3, George Allen Courts Building, 600 Commerce, 5fhfloor
Dallas , Texas 75202


               SIGNED this 11th day of September, 2019




                      DEPUTY CLERK
                      County Court At Law No. 4
Case 3:19-cv-02205-M-BH Document 1-3 Filed 09/16/19                          Page 32 of 32 PageID 39




                              COUNTY COURT AT LAW NO. 4
                              GEORGE L. ALLEN, SR. COURTS BUILDING
                                600 COMMERCE STREET, 5rn FLOOR
                                      DALLAS, TEXAS 75202
                                           214-653- 7345
 Chambers of ruDGE PAULA M. ROSALES                                           September 12, 2019
 JASON LEBOEUF
 2435 N CENTRAL EXPY STE 1200
 RICHARDSON TX 75080-2747

 Cause No.        CC-19-05426-D
 Cause Style:     JAMES SUMMERS, FELICITAS SUMMERS vs. LIBERTY SAVINGS
 BANK,FSB

 Dear Attorney:

 The above case is set for dismissal, pursuant to Rule 165a, Texas Ruled of Civil Procedure on:
 01/20/2020 @9:00 AM.

 If no answer has been filed, or if the answer filed is insufficient as a matter of law to place any facts
 alleged in your petition in issue, you will be expected to have moved for, and to have heard , a
 summary judgment or to have proved up a default order on or prior to that date.

 If an answer has been filed that is sufficient to create a fact issue that prevents disposition of the entire
 case, or if you have been unable to obtain service of process, you should plan to appear to obtain a
 reset of the dismissal date or a trial setting as appropriate.

 In no event will live witnesses be required unless the default prove-up is for an unliquidated claim.
 Liquidated claims and attorneys fees may be proved up by affidavit submitted with a form of
 judgment.

 If you should have any questions, please feel free to call us.

                                                             Very Truly Yours,



                                                             PAULA M. ROSALES
                                                             Judge Presiding
